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                                                                       June 9, 2025



  BY ECF

  The Honorable Paul A. Engelmayer
  United States District Court
  Southern District of New York
  40 Foley Square, Room 2201
  New York, New York 10007


                     Re:    United States v. Do Hyeong Kwon, 23-cr-151 3$(

  Dear Judge Engelmayer,

         We represent Do Kwon in the above-captioned case. We write to respectfully request an
  adjournment of the conference currently scheduled for Thursday, June 12, 2025, to a date at the
  Court’s convenience during the week of June 23, 2025. The government joins in this request.

         The parties are currently engaged in discussions around pretrial motions and related issues.
  An adjournment would allow the parties to continue those productive discussions and potentially
  avoid certain pretrial motion practice.

         This is Mr. Kwon’s first request for an adjournment of this conference. The Court
  previously granted Mr. Kwon’s request for an adjournment of an earlier conference, which the
  government joined. (ECF No. 26).



                                                                       Respectfully submitted,



                                                                       Michael Ferrara

GRANTED. The Court adjourns the conference scheduled for Thursday, June 12, 2025 until Wednesday,
June 25, 2025, at 10:30 a.m. The Clerk of Court is requested to terminate the motion at Dkt. No. 38.

                                       SO ORDERED.                               6/10/2025

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                                                          PAUL A. ENGELMAYER
                                                          United States District Judge
